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                       H.ROSKE & ASSOCIATES ~
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                                           October 12, 2023

   VIA ECF
   Hon. Robert M. Levy
   United States Magistrate Judge
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201


   Re: Juraj Sipko v. Norbert Kocan, No. 1 :23-cv-03339-RPK-RML

   Dear Magistrate Levy:

          We are attorneys for Defendant, Norbert Koca11, in the captioned action.
   In accordance with Your Honor's directive, we respectfully advise that Defendant
   Kocan is willing to participate in mediation in an effort to resolve the matter. We
   are available to discuss the foregoing if the Court so requires. Thank you.

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                                                                  Steven A. Lucia
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                                                                    ~PlE_tfully yours,



   CC:
   Jason Mazrahi, Esq.
   Attorney for Plaintiff
   Jason@levinepstein.com




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